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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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 In re:                                                                      Chapter 11

 Jorge Miguel Prieto,
                                                                             Case No.: 20-40402-CEC
                                 Debtor.
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 AMENDED ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM

           AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the application of the Debtor and Debtor in Possession for an order, pursuant to

Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule”) 3003(c)(3), fixing a deadline and

establishing procedures for filing proofs of claim and approving the form and manner of service

thereof, and it appearing that the relief requested is in the best interests of the Debtor, its estate,

and creditors and that adequate notice has been given and that no further notice is necessary; and

after due deliberation and good and sufficient cause appearing therefor, it is hereby

          ORDERED, that except as otherwise provided herein, all persons and entities,

(including, without limitation, individuals, partnerships, corporations, joint ventures, trusts and

governmental units) that assert a claim, as defined in section 101(5) of 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”), against the Debtor which arose prior to the filing of the Chapter 11

Petition on January 22, 2020, shall file a proof of such claim in writing so that it is received on or

before June 26, 2020 (the “Bar Date”); and it is further

          ORDERED, that the following procedures for the filing of proofs of claim shall apply:

          (a)        Proofs of claim shall conform substantially to Official Bankruptcy Form No. 410;
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       (b)     Attorneys (with full access accounts) and employees of institutional creditors

               (with limited access accounts) shall file proofs of claim electronically on the

               Court’s Case Management/Electronic Case File (“CM/ECF”) system. Those

               without accounts to the CM/ECF system shall file their proofs of claim by mailing

               or delivering the original proof of claim to the United States Bankruptcy Court,

               Eastern District of New York, Conrad B. Duberstein U.S. Bankruptcy

               Courthouse, 271 Cadman Plaza East, Suite 1595, Brooklyn, NY 11201-1800;

       (c)     Proofs of claim shall be deemed timely filed only when received by the Clerk of

               the Court on or before the Bar Date;

       (d)     Proofs of claim shall (i) be signed; (ii) include supporting documentation (if

               voluminous, attach a summary); (iii) be in the English language; and (iv) be

               denominated in United States currency;

       AND IT IS FURTHER ORDERED, that the following persons or entities need not file

a proof of claim on or prior to the Bar Date:

       (a)     Any person or entity that has already filed a proof of claim against the Debtor in

               this case with the Clerk of the Bankruptcy Court for the Eastern District of New

               York in a form substantially similar to Official Bankruptcy Form No. 410;

       (b)     Any person or entity whose claim is listed on the Schedules of Assets and

               Liabilities filed by the Debtor (collectively, the “Schedules”) [Docket Entry No.

               15], if (i) the claim is not scheduled as “disputed,” “contingent” or “unliquidated”;

               and (ii) the claimant agrees with the amount, nature and priority of the claim as

               set forth in the Schedules;
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        (c)     Any holder of a claim that has already been allowed in this case by order of the

                Court;

        (d)     Any holder of a claim for which a different deadline for filing a proof of claim in

                this case has already been fixed by this Court; or

        (e)     Any holder of a claim allowable under sections 503(b) and 507(a)(2) of the

                Bankruptcy Code as an expense of administration of the Debtor’s estate;

        AND IT IS FURTHER ORDERED, that any person or entity that holds a claim that

arises from the rejection of an executory contract or unexpired lease, as to which the order

authorizing such rejection is dated on or before the date of entry of this Order, must file a proof

of claim based on such rejection on or before the later of the Bar Date or the date that is 30 days

after the date of the order authorizing such rejection, and any person or entity that holds a claim

that arises from the rejection of an executory contract or unexpired lease, as to which an order

authorizing such rejection is dated after the date of entry of this Order, must file a proof of claim

on or before such date as the Court may fix in the applicable order authorizing such rejection;

and it is further

        ORDERED, that holders of equity security interests in the Debtor need not file proofs of

interest with respect to the ownership of such interests, but if any such holder has a claim against

the Debtor (including a claim relating to an equity interest or the purchase or sale of the equity

interest), a proof of claim shall be filed on or prior to the Bar Date; and it is further

        ORDERED, that if the Debtor amends or supplements the Schedules after the date of

this Order, the Debtor shall give notice of any amendment or supplement to the holders of claims

amended thereby, and holders of such claims shall have 30 days from the date of service of the

notice to file proofs of claim and shall be given notice of that deadline; and it is further
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          ORDERED, that nothing in this Order shall prejudice the right of the Debtor or any other

party in interest to dispute or assert offsets or defenses to any claim listed in the Schedules; and it

is further

          ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), a holder of a claim that fails

to comply with this Order by timely filing a proof of claim in appropriate form shall not be

treated as a creditor with respect to that claim for purposes of voting and distribution; and it is

further

          ORDERED, that notice of the Bar Date substantially in the form annexed hereto is

approved and shall be deemed adequate and sufficient if served by first-class mail by May 22,

2020 on:

          (a)    the United States trustee;

          (b)    all persons or entities that have requested notice of the proceedings in this case;

          (c)    all persons or entities that have filed claims in this case;

          (d)    all creditors and other known holders of claims as of the date of this Order,

                 including all persons or entities listed in the Schedules as holding claims;

          (e)    all parties to executory contracts and unexpired leases of the Debtor;

          (f)    all parties to litigation with the Debtor;

          (g)    the Internal Revenue Service for the district in which the case is pending and, if

                 required by Bankruptcy Rule 2002(j), the Securities and Exchange Commission

                 and any other required governmental units;

          AND IT IS FURTHER

          ORDERED, that the Debtor shall file proof of service of the notice of the Bar Date on or

before May 27, 2020, and it is further
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          ORDERED, that failure by Debtor’s counsel to timely serve this Order in accordance

with the terms set forth herein may be grounds for dismissal of the above-captioned bankruptcy

case at the case status conference following the deadline to file proof of service; and it is further

          ORDERED, that the Debtor is authorized and empowered to take such steps and perform

such acts as may be necessary to implement and effectuate the terms of this Order; and it is

further

          ORDERED, that entry of this Order is without prejudice to the right of the Debtor to

seek a further order of this Court fixing a date by which holders of claims or interests not subject

to the Bar Date established herein must file such proofs of claim or interest or be barred from

doing so.




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 Dated: Brooklyn, New York                                              Carla E. Craig
        May 18, 2020                                            United States Bankruptcy Judge
